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                       IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DEL A


In re:                                                                   Chapter 11


NEW CENTURY TRS HOLDINGS , INC.                                          Case No. 07- 10416 (JOe)


                                   Debtor                                JoinUy Administered




               STIPULATION EXTENDING THE DEADLINE FOR
   PRODUCTION OF ALTERNATIVE ACCOUNTING PURSUANT TO THE ORDER
    GRANTING ADEQUATE PROTECTION PURSUANT TO BANKRUPTCY CODE
    SECTIONS 105(a), 361, 362
              PROCEDURES FOR RESOLVING CERTAIN CLAIMS
         This                    Stipulation ) is entered into by

Holdings , Inc.    et al. (the " Debtors ) and JPMorgan Chase Mortgage Corp.                     lPMC " and

together with the Debtors , the " Parties ) through their duly authorized counsel.
                                                   RECITALS

         WHEREAS, on June 28 , 2007 , this Court entered the

Protection Pursuant to                                                             , 362 and

Establishing Preliminary Procedures for Resolving Certain Claims (the Adequate Protection

Order


         WHEREAS, pursuant to paragraph 5 of the Adequate Protection Order , JPMC required to

(1) concur with the infonnation contained in the Individual Report or (2) provide the Debtors

with the Alternative Accounting on or before July 20, 2007 (the " Response Deadline




          I All terms not defined herein shall have the same meaning as asclibed in the Order Granting
 Protection Pursuant to Bankruptcy Code Sections                    , 362 and 363(b)(J) and
 Procedures for Resolving Certain Claims , dated June 28 , 2007.
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        WHEREAS, the

including July 27 , 2007 at 5:00 p. m. (est).


        WHEREAS , the Parties

Creditors does not oppose the extension of Response Deadline.


        NOW , THEREFORE , IT IS                                 , CONSENTED AND

that:


        The Response Deadline is hereby extended through and including July 27 , 2007 at 5:00

  m. (est) and JPMC will use its reasonable best efforts to produce the Altemative Accounting on

or before July 27 2007.
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~CO
Dated: July 20, 2007




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